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                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                         §
                                         §
Plaintiff                                §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                         §
Versus                                   §
                                         §
REC MARINE LOGISTICS LLC, ET AL.         §   TRIAL BY JURY DEMANDED
                                         §
Defendants                               §

                   Statement of Facts Not in Dispute

      The    Mover’s   Statement    of   Facts   not   in   Dispute   is   as

follows:

a.    Gulf Offshore Logistic, LLC has never employed or had any

relationship with Plaintif, DeQuincy Richard;

b.    Gulf Offshore Logistics, LLC, never owned or operated the

M/V Dustin Danos;

c. Gulf Offshore Logistics, LLC has been totally dormant and

inactive, doing no business whatever for about five years;

d.    Gulf Offshore Logistics, LLC, has absolutely no access to

or   knowledge,    information,    documents,    records,   or   information

concerning MacArthur Griffin whatever;



      Wherefore, Mover’s statement of facts not in dispute is

submitted.
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                                 Respectfully submitted,


                                 /s/ Fred E. Salley
                                 ________________________________
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                                 SALLEY & ASSOCIATES
                                 77378 Hwy 1081
                                 Covington, LA. 70435
                                 Telephone: (985) 867-8830
                                 All Defendants

                      CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing has
been served on all counsel of record by depositing same in the
United States Postal Service, properly addressed and postage
prepaid this 4th day of September 2020.


                                 ______________________________
                                      Fred E. Salley
